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 5
                              IN THE UNITED STATES DISTRICT COURT
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                                    FOR THE TERRITORY OF GUAM
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     UNITED STATES OF AMERICA,                              CRIMINAL CASE NO. 11-00082-02
10
                            Plaintiff,
11
                    vs.                                              ORDER RE MOTION TO
                                                                     SUPPRESS ORAL
12
     WILLIAM M. PEREZ,                                               STATEMENTS MADE BY
                                                                     DEFENDANT ON
13
                            Defendant.                               DECEMBER 14, 2010,
                                                                     DECEMBER 17, 2010, AND
14
                                                                     DECEMBER 13, 2011
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16
            The Motion to Suppress filed by Defendant William M. Perez came before this court for
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     an evidentiary hearing on May 30, 2012. After hearing the testimony of witnesses and argument
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     from counsel, the court took the Motion to Suppress under advisement. For the reasons discussed
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     more fully herein, the court sets forth the bases for its decision in GRANTING in part and
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     DENYING in part.
21
                                                   I.        FACTS
22
            Two federal agents for the Prosecution testified during the evidentiary hearing. There
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     were no other testimonies offered. It should be noted that the parties do not dispute the fact that
24
     the Defendant was not warned of his Miranda rights.
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 1           A. December 14, 2010 Questioning

 2           On December 14, 2010, between 10:00 p.m. and 12:00 a.m. of December 15, 2010,
 3   approximately ten (10) to fifteen (15) agents from the Federal Bureau of Investigation (“FBI”),
 4   Internal Revenue Service (“IRS”), and Naval Criminal Investigative Service (“NCIS”)1 executed
 5   a search warrant at the MGM Spa Building. The agents were wearing raid jackets with 6-inch
 6   “FBI” lettering on them. Underneath the raid jackets were bullet proof vests. The agents had side
 7   arms and flashlights with them.
 8
             The entrance door to the building was locked so agents initially rang the doorbell. When
 9
     no one responded, the agents knocked and the knocking grew progressively louder until an Asian
10
     female came to the door. The “banging on the door” lasted for about 20-30 seconds long. It is
11
     unclear who unlocked the door but when the door was opened, Defendant William M. Perez was
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     standing at the entrance door.
13
             As the agent in charge of taking control of whoever came to the door, FBI Special Agent
14
     Frank L. Runles stepped into the building, laid his hand on the Defendant, and put him against
15
     the wall to the left of the door. FBI Agent Runles’s hand was on the Defendant’s back while the
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     Defendant’s face was facing the wall away from the agent. At some point, FBI Agent Runles
17
     holstered his weapon, handcuffed the Defendant’s hands behind his back, and conducted a pat-
18
     down search of the Defendant. FBI Agent Runles informed the Defendant that this was being
19
     performed for both of their safety. This lasted approximately two minutes. Thereafter, FBI Agent
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     Runles turned the Defendant around, held his arm, and escorted him to a flight of stairs leading
21
     to the game room.
22
             In the meantime, while this was going on, the rest of the agents entered to secure the
23
     1
      During FBI Agent Runles’s testimony, he indicated that Homeland Security may have been involved in the
24
     execution of the search warrant but could not confirm with certainty.

                                                           2

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 1   building. Once the security check was completed, all weapons were holstered. FBI Agent Runles

 2   could not confirm if all the agents had their weapons drawn when they first entered the building,

 3   but he did confirm that it is standard procedure for an agent to draw his gun when entering and

 4   securing an area. After the building was secured, agents were posted at the exits of the building

 5   to ensure that the agents maintained control of the building. FBI Agent Runles testified that the

 6   agents exerted complete control of the premises.

 7              As FBI Agent Runles and the Defendant approached the game room, the agent saw that
 8   the “situation had been contained” or that the place had been secured. At that point, FBI Agent
 9   Runles removed the cuffs,2 provided the Defendant with the search warrant, and informed him
10   why federal agents were at his place of business. FBI Agent Runles then directed the Defendant
11   to take a seat by a corner poker table3 near the game room door and to wait to be interviewed. In
12   other areas of the game room, interviews were also being conducted by other federal agents. See
13   Government Exhibit No. 12.
14
                FBI Agent Runles and NCIS Agent Joseph Twilley were the agents who conducted the
15
     Defendant’s interview. The agents sat on the other side of the poker table, directly across from
16
     the Defendant. FBI Agent Runles testified that no one was in between the Defendant and the
17
     game room door, and that the Defendant was closest to the door. Government Exhibit No. 11
18
     shows that the Defendant was sitting in a corner, with one wall (and a closed door) to his left and
19
     another wall behind him. According to FBI Agent Runles, the game room door (to the
20
     defendant’s right) was open at the time the Defendant was being interviewed. But FBI Agent
21
     Runles also testified that the game room door was likely closed when the agents were already
22
     inside the game room conducting interviews. At the time the agents first arrived at the MGM Spa
23

24   2
         The total length of time the Defendant was cuffed was approximately 2-3 minutes.
     3
         See Government Exhibit No. 11.
                                                               3

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 1   Building, the double doors to the game room were both open.4

 2            When the agents began the interview, they informed the Defendant that they wanted to
 3   speak with him about the poker game he was running.5 At one point during the interview, the
 4   Defendant’s cellular phone rang. The Prosecution failed to provide evidence as to who answered
 5   the Defendant’s cellular phone. What is known is that when the phone rang (or “buzzed”), the
 6   Defendant informed the agents that it was co-defendant Wai Kam Ho calling. FBI Agent Runles
 7   then asked if he could speak with Mr. Ho. The total length of the interview lasted for
 8   approximately thirty (30) minutes.
 9
              After the interview, the Defendant was informed that the federal agents would be in the
10
     building for quite a while. The Defendant stayed for a bit, but then gave the keys to FBI Agent
11
     Runles for him to lock up the building once they were done. The raid ended and the agents left
12
     the premises at approximately 2:00 a.m. of December 15, 2010.
13
              FBI Agent Runles testified that the Defendant never asked the agent if he should get a
14
     lawyer, nor did the Defendant inform the agent that he has an attorney. FBI Agent Runles further
15
     testified that he was not told by NCIS Agent Twilley that the defendant had an attorney. FBI
16
     Agent Runles also stated that he did not see any reference to an attorney’s name on the
17
     Defendant’s cellular phone when he spoke to Mr. Ho. In addition, FBI Agent Runles stated that
18
     he did not search the Defendant’s cellular phone, and the agent does not recall seeing any one
19
     else search the Defendant’s cellular phone.
20
              At the night of the raid, the Defendant was not told he had to stay. However, the
21

22   4
       Government Exhibit Nos. 2, 3, and 4 show pictures of the game room door. The pictures show that the left door is
     closed and the right door is opened. The pictures were taken at the night of the execution of the search warrant, but
23   the Prosecution failed to provide evidence as to the exact time each of the pictures was taken.
     5
      The Prosecution failed to provide evidence as to the number of poker games that were in progress when the federal
24
     agents arrived at the scene but there was at least one game going on. See Government Exhibit No. 9.

                                                               4

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 1   Defendant was not told he could leave either. FBI Agent Runles testified that the individuals in

 2   the building were free to leave once they were finished being interviewed. FBI Agent Runles

 3   said that the federal agents did not tell people that they were not free to leave until they gave the

 4   agents an interview, but FBI Agent Runles stated that “I think everyone understood you’re going

 5   to be interviewed and then once you’re done, you’d leave.” If someone had refused to be

 6   interviewed, then that person was free to go. There was no evidence that this was ever

 7   communicated to the Defendant or to the rest of the people being interviewed.

 8          B. December 17, 2010 Questioning
 9
            On December 17, 2010, FBI Agent Runles called the Defendant to return the keys. FBI
10
     Agent Runles believes it was the Defendant who suggested that they meet at the MGM Spa
11
     Building parking lot. FBI Agent Runles and NCIS Agent Twilley were present at that meeting.
12
            Upon meeting, the agents returned the keys to the Defendant. The Defendant then
13
     unlocked the building, and the agents followed him inside. The agents asked the Defendant
14
     additional questions, which took approximately between 15-30 minutes. The agents asked the
15
     Defendant whether he had any contacts with his co-defendants. In addition, the agents asked the
16
     Defendant if he was willing to wear a concealed wire. He refused. Thereafter, the agents left.
17
     FBI Agent Runles described the interaction with the Defendant as cordial, very-matter-of-fact
18
     conversation. There was no indication that the Defendant was uncomfortable or that he did not
19
     want to talk to the agents.
20
            FBI Agent Runles testified that he did not threaten the Defendant and does not recall
21
     hearing NCIS Agent Twilley threaten the Defendant either. The agent, however, may have
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     alluded to the Defendant that “he has a lot of legal problems which could include money
23
     laundering or whatever.”
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                                                       5

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 1          C. December 13, 2011 Questioning

 2          Approximately a year later, on December 13, 2011, FBI Agent Runles called the
 3   Defendant to ask him if they could meet. The Defendant agreed. FBI Agent Runles testified that
 4   he believes it was the Defendant who again suggested that they meet at the MGM Spa Building
 5   parking lot. When FBI Agent Runles called, the Defendant said that he “can come over right
 6   now.” The agents arrived at the MGM parking lot before the Defendant and thus waited for him
 7   for approximately 10 minutes until he arrived. The agents present during this meeting were FBI
 8   Agent Runles and IRS-Criminal Investigation Special Agent Todd Peterson.
 9
            According to FBI Agent Runles, it was IRS Agent Peterson who wanted to speak with the
10
     Defendant because “there were a couple of loose ends that we wanted to tie up.” The meeting
11
     was described as cordial and lasted approximately 10-15 minutes under the hot sun. The agents
12
     did not go inside the MGM Spa Building.
13
            IRS Agent Peterson testified that the defendant was “very agreeable, agreeable to meet
14
     with us” and that the meeting was not confrontational. Also, IRS Agent Peterson stated that the
15
     defendant did not ask for an attorney.
16
            Government Exhibit No. 13 was admitted into evidence. The exhibit is an IRS regulation
17
     governing interviews in a criminal investigation. IRS Agent Peterson testified that IRS conducts
18
     two different types of investigation: administrative (criminal) investigation and grand jury
19
     investigation. In an administrative investigation, the IRS agents investigate tax cases, and agents
20
     are required to advise the person being interviewed their rights (either noncustodial advice of
21
     rights, or custodial advice of Miranda rights, depending on the situation). The U.S. Attorney’s
22
     Office is not involved in administrative investigation due to tax disclosure laws.
23

24          In a grand jury investigation, the matters involved are non-tax cases. Specifically, it

                                                      6

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 1   involves mainly money laundering charges and structuring. In these investigations, IRS agents

 2   are not required by their agency regulations to advise a person of their rights, unless advised by

 3   the U.S. Attorney’s Office.

 4           IRS Agent Peterson testified that the interview with the Defendant was not an
 5   administrative criminal investigation. It does not involve tax-related matters. Moreover, had it
 6   been an administrative investigation, the presence of an FBI agent would not have been
 7   allowed except under limited circumstances.
 8
                                                    II.      DISCUSSION
 9
             Defendant William Perez contends that he should have been given his Miranda rights on
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     December 14, 2010, December 17, 2010, and December 13, 2011. See ECF No. 102. The
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     Defendant also contends that his Fifth Amendment right to remain silent was violated on
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     December 14, 2010.6 See ECF Nos. 113 at 4, and 102 at 3. In addition, the Defendant contends
13
     that his Sixth Amendment right to counsel was violated on December 14, 2010,7 and December
14
     13, 2011. See id. and ECF No. 113 at 6. Thus, the Defendant is asking that the statements he
15
     made on those dates be suppressed.
16
             On a motion to suppress, the controlling burden of proof imposes no greater burden than
17
     proof by a preponderance of the evidence. See United States v. Matlock, 415 U.S. 164, 177 n.14
18
     (1974). Moreover, the prosecution, as the proponent of the evidence, must bear the burden of
19
     proving its admissibility. See United States v. Coades, 468 F.2d 1061, 1064 (3d Cir. 1972);
20
     United States v. Colbert, No. 89-310, 1990 WL 5200 at *1 (D.N.J. January 23, 1990) (citing Katz
21

22   6
       Because the court grants the Defendant’s motion to suppress statements made on December 14, 2010, based on the
     agents violating the defendant’s right to a Miranda warning, the issue of whether the Defendant’s Fifth Amendment
23   right to remain silent was violated on December 14, 2010, will not be discussed because the matter is moot.
     7
       Because the court grants the Defendant’s motion to suppress statements made on December 14, 2010, based on the
     agents violating the defendant’s right to a Miranda warning, the issue of whether the Defendant’s Sixth Amendment
24
     right to counsel was violated on December 14, 2010, will not be discussed because the matter is moot.

                                                            7

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 1   v. United States, 389 U.S. 347 (1967)).

 2          A. Miranda Warning on December 14, 2010
 3
            “No person . . . shall be compelled in any criminal case to be a witness against himself.”
 4
     U.S. CONST. amend. V. In order to permit a full opportunity to exercise the privilege against
 5
     self-incrimination, the U.S. Supreme Court in Miranda v. Arizona decided that the accused must
 6
     be adequately and effectively apprised of his rights. 384 U.S. 436, 467 (1966). If a person in
 7
     custody was questioned without first being apprised of his rights, any statements made at that
 8
     time may not be admitted as evidence against him. Stansbury v. California, 511 U.S. 318, 322.
 9
     (1994); United States v. Williams, 435 F.3d 1148, 1152 (9th Cir. 2006).
10
            The obligation to administer a Miranda warning is triggered “only where there has been
11
     such a restriction on a person’s freedom as to render him ‘in custody’.” Stansbury, 511 U.S. at
12
     322 (citations omitted). To determine whether the person is “in custody,” the court must examine
13
     all of the circumstances surrounding the interrogation. Id. However, the ultimate inquiry is
14
     whether there was a “formal arrest or restraint on freedom of movement” of the degree
15
     associated with a formal arrest. Id. See also United States v. LeBrun, 363 F.3d 715, 720 (8th Cir.
16
     2004), citing Oregon v. Mathiason, 429 U.S. 492, 495 (1977) (The critical question is whether
17
     the defendant’s freedom to depart was restricted in any way); Miranda, 384 U.S. at 444
18
     (Miranda warning applies when a person is questioned by a law enforcement officer after being
19
     “taken into custody or otherwise deprived of his freedom of action in any significant way.”).
20
            The court looks “at the totality of the circumstances while keeping in mind that the
21
     determination is based ‘on the objective circumstances of the interrogation, not on the subjective
22
     views harbored by either the interrogating officers or the person being questioned.’” LeBrun, 363
23
     F.3d at 720, citing Stansbury, 511 U.S. at 322-23. See also United States v. Craighead, 539 F.3d
24

                                                     8

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 1   1073, 1082 (9th Cir. 2008). The court asks whether a reasonable person in those circumstances

 2   would “have felt he or she was not at liberty to terminate the interrogation and leave.”

 3   Craighead, 539 F.3d at 1082, citing Thompson v. Keohane, 516 U.S. 99, 112 (1995). See also

 4   U.S. v. Revels, 510 F.3d 1269, 1274 (10th Cir. 2007) (Citing the U.S. Supreme Court in

 5   Berkemer v. McCarty, 468 U.S. 420, 441-42 (1984), the court indicates that the only relevant

 6   inquiry is how a reasonable man in the suspect’s position would have understood his situation).

 7          This requires a fact-specific analysis that involves various factors when examining the
 8   totality of the circumstances. In 2008, the Ninth Circuit used the following factors: (1) the
 9   number of law enforcement personnel and whether they were armed; (2) whether the suspect was
10   at any point restrained, either by physical force or by threats or intimidation; (3) whether the
11   suspect was isolated from others; and (4) whether the suspect was informed that he was free to
12   leave or terminate the interview, and the context in which any such statements were made.
13   Craighead, 539 F.3d at 1084.
14
            In Craighead, there were eight law enforcement officers from three different agencies
15
     who entered the defendant’s residence. 539 F.3d at 1078. Some were armed, and some
16
     unholstered their firearms during the search. Id. All of the FBI agents were wearing flak jackets
17
     (“raid vests”). Id. One agent informed the defendant that he was not under arrest, any statement
18
     from him is voluntary, and he would not be arrested that day regardless of what information he
19
     provides. Id. The defendant was escorted to a storage room for questioning with the door shut
20
     closed. Id. Two law enforcement officers were present, and one of them stood near the exit. Id.
21
     The interview lasted 20 to 30 minutes long. Id. No force or threats were used to induce the
22
     defendant to speak with the officers. Id. at 1079. The defendant testified that the “prevailing
23
     mood of the morning” left him with the impression that he was not free to leave. Id. Despite the
24
     defendant being told that he was not under arrest and any statement from him is voluntary, the
                                                       9

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 1   Ninth Circuit found custodial interrogation for Miranda purposes because (1) the place was a

 2   police-dominated environment (defendant’s home was crawling with a large number of officers

 3   wearing raid jackets and visibly armed);8 (2) the defendant was restrained in some way (the

 4   interview occurred in a closed-door storage room with one officer positioning himself near the

 5   exit); and (3) the defendant was isolated from others (defendant was interviewed without any

 6   support system with him—family, friends or colleagues, who are important to lend moral support

 7   and deter a suspect from making inculpatory statements). Id. at 1084-89.

 8           In Revels, seven police officers executed a search warrant on Revels’ home at 6:00 a.m.
 9   510 F.3d at 1270. The defendant was immediately detained, restrained in handcuffs, and placed
10   face down on the floor. Id. After approximately ten minutes of searching the home, the handcuffs
11   on the defendant were removed. Id. at 1271. The defendant was separated from her boyfriend
12   and children, and she was escorted to a rear bedroom for questioning with closed door. Id. at
13   1275. During the questioning, one of the officers confronted the defendant with a bag of cocaine
14   seized during the search. Id. at 1276. The police never told the defendant she was free to leave or
15   to terminate the police questioning. Id. Citing United States v. Griffin, 7 F.3d 1512, 1518 (10th
16   Cir. 1993), the court stated that “[t]he lack of a police advisement that the suspect is at liberty to
17   decline to answer questions or free to leave is a significant indication of a custodial detention.”
18   Id. at 1276. Looking at the totality of the circumstances—to include being restrained temporarily
19   in handcuffs, police-dominated atmosphere (seven police officers in the house), being separated,
20   and not being told that Revels was free to leave—the court found custodial interrogation for
21   Miranda purposes. Id. at 1277.
22
     8
       See also Orozco v. Texas, 394 U.S. 324, 325 (1969) (holding that an interrogation was custodial where four police
23   officers arrived at the suspect’s home, entered the bedroom, and behaved as though the suspect was not free to leave
     while he was questioned); United States v. Mittel-Carey, 493 F.3d 36, 40 (1st Cir. 2007) (finding suspect was in
     custody although interrogated in his home because of the “level of physical control that the agents exercised over”
24
     the suspect).

                                                             10

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 1          Similar to Craighead and Revels, in the present case, there was a large number of federal

 2   agents from three different agencies. FBI Agent Runles testified that there were approximately

 3   10-15 agents from the FBI, NCIS, and IRS. The agents were wearing raid jackets with 6-inch

 4   “FBI” lettering on them, and underneath the raid jackets were bullet proof vests. The agents were

 5   armed and were banging on the door. Upon entrance to the building, weapons were drawn as the

 6   agents secured the premises. Once the agents secured the premises, agents were posted at the

 7   exits to maintain control of the building.

 8          The Defendant was immediately restrained when federal agents entered the spa building.
 9   FBI Agent Runles took control of the Defendant at the doorway by placing him against the wall,
10   cuffing his hands behind his back, and frisking him. While still handcuffed, FBI Agent Runles
11   held the Defendant’s arm and escorted him to the game room. There, the agent removed the
12   Defendant’s handcuffs and directed him to sit by a corner poker table.
13          The Prosecution argues that handcuffing a defendant while officers conduct a security
14   sweep is proper. See ECF No. 108 at 2-3. The brief detention of the Defendant is no doubt
15   proper. The Ninth Circuit held that when conducting a lawful search, physical control of the
16   suspect is necessary to preserve evidence and protect the safety of the law enforcement officers.
17   Craighead, 539 F.3d at 1086. See also Michigan v. Summers, 452 U.S. 692, 699-704 (1981)
18   (Frisking and detention of a person while the premises are searched are acceptable way to ensure
19   safety of officers); United States v. Bautista, 684 F.2d 1286, 1292 (1982) (“handcuffing a suspect
20   does not necessarily dictate a finding of custody”). However, the fact that these precautions are
21   necessary to the safety of the officers and the preservation of evidence does not lessen the
22   tendency to make a reasonable person believe he is in custody. Craighead, 539 F.3d at 1086.
23          The Prosecution also argues that the Defendant was not isolated and that the questioning
24   was conducted in a large game room in front of numerous other people who were being

                                                     11

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 1   interviewed at the same time. Although the Defendant was not placed in a separate room, unlike

 2   the defendants in Craighead and Revels, it does not change the fact that the Defendant was

 3   isolated from others. The Defendant was questioned alone in the corner of the game room,

 4   separate from others who were also being questioned in other areas of the game room. The

 5   Prosecution failed to provide evidence as to the exact number of people being interviewed at the

 6   same time that the Defendant was being interviewed.

 7          In addition, the Defendant was not informed that he was free to leave or free to terminate

 8   the interview.

 9          Looking at the totality of the circumstances—the building crawling with 10-15 armed law

10   enforcement officers from three different agencies, FBI Agent Runles making it known that he

11   had control of the Defendant, the Defendant being handcuffed at one point, and the Defendant

12   being isolated from others during the interview and not being told he was free to leave—a

13   reasonable person in the Defendant’s position would have felt he was not at liberty to terminate

14   the interrogation and leave. Thus, the court must find in accordance with the Ninth Circuit that

15   the questioning that occurred on December 14, 2010 is custodial in nature.

16          Accordingly, the Defendant’s motion to suppress his statements made on December 14,

17   2010 is hereby GRANTED.

18          B. Miranda Warning on December 17, 2010

19          The Defendant argues that no reasonable person in the Defendant’s position would have

20   felt free to say no to a meeting with the very same agents who questioned him two nights earlier.

21   ECF No. 113 at 5-6.

22          The courts have held that Miranda warnings are not required if the suspect is not placed

23   under arrest, voluntarily comes to the police station, and is allowed to leave unhindered by police

24   after the interview. In California v. Beheler, 463 U.S. 1121, 1121-22 (1983), the defendant

                                                     12

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 1   voluntarily agreed to accompany the police officers to the police station. Id. at 1122. The

 2   defendant then agreed to talk and after talking, he left the police station unhindered. Id. The

 3   defendant was not arrested after the interview. Id. Based on these facts, the Supreme Court found

 4   that “it is beyond doubt that [the defendant] was neither taken into custody nor significantly

 5   deprived of his freedom of action. [The defendant’s] freedom was not restricted in any way

 6   whatsoever.” Id. at 1123.

 7          Similar to Beheler is Mathiason, 429 U.S. 492 (1977). In that case, the Supreme Court

 8   found that the defendant was not in custody, because there was no indication that the questioning

 9   took place in a context where the defendant’s freedom to depart was restricted in any way. Id. at

10   495. The defendant came voluntarily to the police station, where he was informed that he was not

11   under arrest, and he left the police station without hindrance. Id.

12          Moreover, the Ninth Circuit found in United States v. Hayden, 260 F.3d 1062 (9th Cir.

13   2001), that the defendant cannot be considered “in custody” because the defendant voluntarily

14   went to the FBI office on two separate occasions, provided her own transportation to both

15   meetings, was told she was free to leave, and was not placed under arrest or restrained during the

16   interview. Id. at 1063-66.

17          Similarly in this case, the Defendant provided his own transportation and voluntarily met

18   with FBI Agent Runles and NCIS Agent Twilley. The Defendant consented to additional

19   questioning and according to FBI Agent Runles, there was no indication that the Defendant was

20   uncomfortable or that he did not want to talk to them. When the agents were done questioning

21   the Defendant, they left. The interview lasted for approximately 15-30 minutes. The Defendant

22   was not arrested at the end of the interview, and there was no evidence to show the Defendant

23   was restrained in any way or was hindered from leaving the building.

24          FBI Agent Runles also testified that he did not threaten the Defendant, but he may have

                                                      13

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 1   alluded to the Defendant that he has “a lot of legal problems.” Although police tactics marginally

 2   favor custody, it is not the deciding factor. Interviewing of a suspect will always have coercive

 3   aspects to it. Mathiason, 429 U.S. at 495.

 4           Looking at the totality of the circumstances, the interview of December 17, 2010 is non-

 5   custodial. The Defendant voluntarily met with the agents and consented to an interview. There is

 6   no evidence to show that the Defendant’s freedom of movement was restrained or that he was

 7   deprived of his freedom of action in any significant way. Accordingly, the Defendant’s motion to

 8   suppress statements made on December 17, 2010 is hereby DENIED.

 9           C. Miranda Warning on December 13, 2011

10           Similar to the December 17, 2010 analysis, supra, the interview on December 13, 2011

11   was non-custodial. When the federal agent contacted the Defendant, the Defendant voluntarily

12   agreed to meet with the agents. Having agreed to meet at the parking lot of the MGM Spa

13   Building, the Defendant provided his own transportation. The interview lasted between 10-15

14   minutes under the hot sun. Being in an open space in a parking lot, there is no evidence to

15   indicate that the Defendant was restrained or hindered from leaving. A reasonable person in the

16   Defendant’s situation would not have felt that he would have been in custody or that he was

17   deprived of his freedom of action in any significant way.

18           The Defendant argues that he was misled by the agents into believing that he was not a

19   suspect in this case. See ECF No. 113 at 6. The basis for the Defendant’s argument is that

20   because the agents transitioned from the proverbial “bad-cop” on the night of the raid to the

21   proverbial “good-cop” during this interview, the Defendant “reasonably believe[d] that he was

22   not the focus of [the agents’] investigation, that he did not require an attorney . . .” or “that his

23   statements would not be used against him,” and that he was lulled “into a false sense of

24   security.” Id. The courts have already decided on this matter, that there is nothing wrong with

                                                       14

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 1   questioning tactics such as deception or a sympathetic attitude on the part of the law enforcement

 2   officer. Jenner, 982 F.2d at 334, citing Miller v. Fenton, 796 F.2d 598, 607 (3d Cir. 1986), cert.

 3   denied, 479 U.S. 989 (1986); Martin v. Wainwright, 770 F.2d 598, 925-27 (11th Cir. 1985);

 4   Hawkins v. Lynaugh, 844 F.2d 1132, 1140 (5th Cir.), cert. denied, 488 U.S. 900 (1988) (“[T]here

 5   is nothing inherently wrong with efforts to create a favorable climate for confession.”).

 6          In addition, the Defendant asserts that IRS Agent Peterson did not advise him of his right

 7   against self-incrimination and of the criminal investigation being conducted, as required by IRS

 8   regulations. See ECF Nos. 102 at 6, and 113 at 6. Thus, the Defendant argues that his statements

 9   should be suppressed because failure to comply with IRS regulations renders answers to

10   questions inadmissible in court, as concluded by the Ninth Circuit in United States v. Sourapas,

11   515 F.2d 295 (9th Cir. 1975). However, Defendant’s reliance in Sourapas is outdated. The Ninth

12   Circuit noted that the continuing validity of its holding in Sourapas is questionable. United

13   States v. Rutherford, No. 99-00159, 2002 WL 770486, at *2 (9th Cir. Apr. 29, 2002). The Ninth

14   Circuit cites U.S. Supreme Court cases to support its conclusion that the Sourapas holding has

15   “long been superceded.” Id. For example, in United States v. Caceres, 440 U.S. 741, 754-56

16   (1979), the U.S. Supreme Court held that evidence obtained in violation of IRS regulations is

17   admissible in a criminal trial, provided that there are no constitutional or statutory violation. See

18   also Beckwith v. United States, 425 U.S. 341, 347-48 (1975) (An IRS agent does not need to

19   provide Miranda warnings to an individual under IRS investigation before questioning unless

20   that individual was in custody or special circumstances exists “such as to overbear [the

21   individual’s] will to resist and bring about confessions not freely self-determined.”). In accord

22   with the Supreme Court decisions, the Ninth Circuit in United States v. Snowadzki, 723 F.2d

23   1427, 1430-31 (9th Cir. 1984), held that “[a]bsent unusual circumstances, the exclusionary rule

24   does not apply when IRS agents violate internal regulations, without also infringing on

                                                      15

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 1   constitutional or statutory rights.”

 2           As discussed supra, there is no evidence that the meeting between the two federal agents

 3   and the Defendant on December 13, 2011 was custodial in nature. Further, there is no evidence

 4   of “special circumstances” such as to overbear the Defendant’s “will to resist and bring about

 5   confessions not freely self-determined.” Accordingly, IRS Agent Peterson was not under any

 6   legal duty to provide Miranda warnings to the Defendant. The Defendant’s motion to suppress

 7   statements made on December 13, 2011, is hereby DENIED.

 8           Because the case law that the Defendant is relying on in making his argument has been

 9   superseded, it is not necessary for this court to address the arguments made by the parties at the

10   evidentiary hearing on the distinction between an IRS administrative criminal investigation and

11   grand jury investigation.

12           D. Sixth Amendment Right to Counsel on December 13, 2011

13           The Defendant argues that his Sixth Amendment right to counsel was violated.

14   The Defendant mentions two things he claims violated his right to counsel on December 13,

15   2011: (1) Defendant was told he did not need his attorney present; and (2) Defendant had

16   apprised the agents of his attorney’s name and they told him they only wanted to ask a few

17   questions. See ECF Nos. 102 at 5, and 113 at 6.

18           The Sixth Amendment provides in relevant part the following: “In all criminal

19   prosecutions, the accused shall enjoy the right . . . to have the assistance of counsel for his

20   defense.” U.S. CONST. amend. VI. The Sixth Amendment right to counsel attaches at the first

21   formal proceeding against an accused. McNeil v. Wisconsin, 501 U.S. 171, 175 (1991). See also

22   Davis v. United States, 512 U.S. 452, 456 (1994). In this case, the Defendant has not been

23   formally charged at the time of the questioning and therefore the Sixth Amendment right to

24   counsel does not apply.

                                                       16

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 1           However, in Miranda v. Arizona, 384 U.S. at 469-73, the U.S. Supreme Court held that a

 2   suspect subject to custodial interrogation has the right to an attorney and to have that attorney

 3   present during interrogation. Invoking Miranda right to counsel applies only when a suspect is

 4   under custodial interrogation. McNeil, 501 U.S. at 178-81. See also Davis, 512 U.S. at 456 (“[A]

 5   suspect subject to custodial interrogation has the right to consult with an attorney”); United

 6   States v. Hines, 963 F.2d 255, 256 (9th Cir. 1992) (“[I]t is well established . . . that the Fifth

 7   Amendment right to counsel under Miranda does not vest until a defendant is taken into

 8   custody.”).

 9           Because the Defendant was not in custody on December 13, 2011, the Defendant does

10   not have the right to counsel under Miranda. In addition, there is no evidence to show that the

11   Defendant asked for an attorney.

12           Accordingly, the Defendant’s motion to suppress statements made on December 13,

13   2011, based on violation of his right to counsel is hereby DENIED.

14                                             III.    CONCLUSION

15           With respect to the December 14, 2010 questioning, the motion to suppress is hereby

16   GRANTED. With respect to the December 17, 2010 questioning, the motion to suppress is

17   hereby DENIED. With respect to the December 13, 2011 questioning, the motion to suppress is

18   hereby DENIED.

19

20           SO ORDERED.

21

22                                                                 /s/ Frances M. Tydingco-Gatewood
                                                                       Chief Judge
23                                                                 Dated: Jul 17, 2012

24

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